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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

PATRICIA CONWAY                                      )
                                                     )
        Plaintiff,                                   )
                                                     )      Case No. 4:22-cv-01113-RLW
vs.                                                  )
                                                     )
MERCY HOSPITAL ST. LOUIS                             )
                                                     )
       Defendant.                                    )

                     PLAINTIFF’S MEMORANDUM IN OPPOSITION TO
                       DEFENDANT MERCY HOSPITAL ST. LOUIS’S
                          MOTION FOR SUMMARY JUDGMENT

       The Court should deny Defendant’s Motion for Summary Judgment because the CMS

vaccine mandate places an affirmative obligation on Medicare recipients to give workers’ a process

through which to obtain a religious exemption from the mandatory vaccine requirement. Mercy’s

explicit efforts at compliance with the mandate and dissemination of information to employees

about it is a waiver of and estops Mercy from asserting the exemption as affirmative defense.

       Defendant’s 42 U.S.C. § 2000e-1 immunity analysis fails if applied because there is a

genuine dispute as to material facts about whether Defendant is a “religious corporation.”

Defendant’s analysis relies on the wrong standard. Under the correct standard, Defendant Mercy

Hospital’s operation of multiple for-profit sub entities and failure to operate their business as a

religious corporation creates a material fact dispute about whether the entity for which Plaintiff

Conway actually worked for and is entitled to § 2000 immunity.

                          SUMMARY JUDGEMENT STANDARD

       Under Federal Rule of Civil Procedure 56(a), a district court may grant a motion for




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summary judgment if all of the information before the court demonstrates that “there is no

genuine issue as to any material fact and the move party is entitled to judgment as a matter of

law.” Krenik v. County of Le Sueur, 47 F.3d 953, 957 (8th Cir. 1995). Any inferences to be

drawn from the facts must be viewed in the light most favorable to the nonmoving party.

Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

        “Where a motion for summary judgment is founded on an affirmative defense, the

moving party has the burden to present facts that establish that defense." See Ballard v. Rubin,

284 F.3d 957, 964 n.6 (8th Cir. 2002).” White v. Russell, No. 4:16-CV-886 CAS, at *7 (E.D. Mo.

Jan. 7, 2019).

   I.      THE RELIGIOUS CORPORATION EXEMPTION IS A NON-
           JURISDICTIONAL AFFIRMATIVE DEFENSE THAT MERCY BEARS THE
           BURDEN OF PROVING.

        The religious organization exemption to Title VII’s prohibition against discrimination

provides that:

                      “[t]his subchapter shall not apply to an employer with respect
                 to the employment of aliens outside any State, or to a religious
                 corporation, association, educational institution, or society with
                 respect to the employment of individuals of a particular religion to
                 perform work connected with the carrying on by such corporation,
                 association, educational institution, or society of its activities.” 42
                 U.S.C. § 2000e-1.


        "Title VII of the Civil Rights act of 1964 is to be accorded a liberal construction in order

to carry out the purposes of Congress to eliminate the inconvenience, unfairness and humiliation

of . . . discrimination." Baker v. Stuart Broad. Co., 560 F.2d 389, 391 (8th Cir. 1977) (quotation

marks and citations omitted). In particular, "[s]uch liberal construction is also to be given to the

definition of `employer.'" Id. (citation omitted). Sandoval v. A.B.M.I, 578 F.3d 787, 792-93 (8th

Cir. 2009). In Sandoval, the Eight Circuit held that a close analysis of the business dealings and

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corporate documents of the Defendant precluded summary judgement on a claim of exemption

from Title VII. Id. at 800.

       The Sandoval exemption at issue – for a parent company when a Title VII claim was made

against their subsidiary – is similar to the one at issue in this claim. Here there is substantial

evidence that Mercy is not entitled to the claimed exemption because of factual disputes relating

to the degree to which Mercy is a religious corporation.

       Defendant’s argument treats the § 2000e-1 exemption as a jurisdictional bar to any Plaintiff

asserting a Title VII claim against a religious corporation. But Courts have routinely denied that

assertion. In Arbaugh v. Y & H Corp., 546 U.S. 500, 516, 126 S.Ct. 1235, 163 L.Ed.2d 1097

(2006), the Supreme Court established the "bright line" rule that "when Congress does not rank a

statutory limitation on coverage as jurisdictional, courts should treat the restriction as non

jurisdictional in character."

       In that case, the Plaintiff asserted a claim of discrimination, and the Defendant maintained

a right to judgement as a matter of law because the employer did not have a sufficient number of

employees pursuant to Title VII’s numerosity requirement. Id. at 504. The Supreme Court held

that the numerosity requirement was not a jurisdictional pre-requisite to the suit, holding in favor

of the employee. Id. The Eighth Circuit Court of Appeals has applied that holding to other actions

under Title VII, holding that the claimed exemptions under the statute do deprive the Court of

jurisdiction over the dispute. See e.g. Equal Emp't Opportunity Comm'n v. CRST Van Expedited,

Inc., 774 F.3d 1169 (8th Cir. 2014).

       Crucially, the fact that the claimed exemption is not a jurisdictional pre-requisite but rather

an affirmative defense shifts the burden of proof onto the Defendant – Defendant Mercy must

prove that it is a religious corporation. Although the Eight Circuit has not addressed whether the



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religious corporation exemption is an affirmative defense, other courts have routinely held the

same. “The entity seeking the benefit of the statute bears the burden of proving it is exempt.”

EEOC v. Kamehameha Schs./Bishop Estate, 990 F.2d 458, 460 (9th Cir. 1993); Garcia v. Salvation

Army, 918 F.3d 997, 1003 (9th Cir. 2019).

         Because the exemption is an affirmative defense, Plaintiff can defeat the application thereof

by any method normally available for the same – including, as described below, through the

doctrines of judicial estoppel and waiver.

   II.      DEFENDANT’S VACCINATION PROGRAM WAS REQUIRED BY THE
            CMS RULES TO HAVE A RELIGIOUS EXEMPTION, AND § 2000(E) DOES
            NOT IMMUNIZE THIS DEFENDANT FROM COMPLIANCE WITH THE
            RULE.

   A. Mercy was required to provide a religious exemption to the vaccine requirement

         pursuant to the CMS Rules.

         The Centers for Medicare & Medicaid Services issued a COVID-19 vaccination mandate

(“CMS Mandate”) on November 5, 2021, which applies to Mercy and its staff. See Medicare and

Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination, 86 Fed. Reg. 61,555

(Nov. 5, 2021). The CMS Mandate was then upheld by the United States Supreme Court on January

13, 2022. Biden v. Missouri, 142 S.Ct. 647 (2022). Defendant admits that “Mercy had no other

choice but to implement a vaccine mandate.” Defendant’s Memorandum in Support of Motion for

Summary Judgement at ¶ 3, n.2.

         To participate in the Medicare program and receive payment for services furnished to

Medicare beneficiaries, providers such as hospitals, home-health agencies, hospices, and skilled

nursing facilities must enter into a provider agreement with CMS after demonstrating that they

meet the conditions for participation. 42 U.S.C. § 1395cc. Medicaid providers, likewise,

voluntarily enter into provider agreements with State Medicaid agencies to be eligible for

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participation in that program. 42 U.S.C. § 1396a(a)(27). By voluntarily entering into a provider

agreement, a facility agrees that it will comply with the requirements of the Medicare and Medicaid

statutes and the regulations that the Secretary issues under these statutes. See 42 U.S.C. §

1395cc(b)(2); see also id. § 1396a(p)(1).

          On November 5, 2021, CMS issued the interim final rule that is the subject of this case.

Medicare and Medicaid Programs; Omnibus COVID-19 Health Care Staff Vaccination, 86 Fed.

Reg.13 61,555 (Nov. 5, 2021). “The rule requires providers to offer medical and religious

exemptions, and does not cover staff who tele work full-time.” Biden v. Missouri, 595 U.S.

(2022), No. 21A240, at *2 (Jan. 13, 2022) (emphasis added).1
      .   ercy’s compliance wit h the manda te was an i nten tiona l relinqu ishmen t of exe mpt ion fro m the a pplicab ility o f itle




          Because the Mandate as described “requires” providers to offer religious exemptions,

compliance with the same operates as a waiver of the exemption, at least for actions taken in

compliance with the Mandate. As argued below, Mercy is not a religious corporation. But even if

they were, their compliance with the mandate waives their right to claim exemption from Title

VII.

          "A waiver is the intentional relinquishment of a known right." Acetylene Gas Co. v.

Oliver, 939 S.W.2d 404, 409 (Mo. Ct. App. 1996). "To rise to the level of a waiver, the conduct

must be so manifestly consistent with and indicative of an intention to renounce a particular right

or benefit that no other reasonable explanation of [the] conduct is possible." Id. (citation

omitted). Boswell v. Panera Bread Co., No. 4:14-CV-01833-AGF, at *30 (E.D. Mo. Mar. 24,



1
 The CMS Mandate includes a section entitled “vaccine exemptions.” 86 Fed. Reg. at 61572. This section of the
CMS Mandate acknowledges there are “Federal laws, including the ADA, section 504 of the Rehabilitation Act,
section 1557 of the ACA, and Title VII of the Civil Right Act, that prohibit discrimination based on race, color,
national origin, religion, disability and/or sex, including pregnancy.” Id. The CMS Mandate recognizes that “in some
circumstances, employers may be required by law to offer accommodations for some individual staff members.” 86
Fed. Reg. at 61572. Accordingly, the CMS Mandate requires covered healthcare facilities to “establish and
implement a process by which staff may request an exemption from COVID-19 vaccination requirements based on
an applicable Federal law.” Id. at 61572.

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2016). Courts have held that failure to act consistent with the parameters of a claimed exemption

is sufficiently voluntary to constitute relinquishment of the exemption. In Mennen v. Easter

Stores, 951 F. Supp. 838 (N.D. Iowa 1997), the district court held that an employer that did not

adhere to an exemption effected a forfeiture of the exemption.

       In this case, Mercy has indisputably established policies and procedures for religious

exemptions from the vaccine mandate. Mercy Hospital St. Louis states in their religious

exemption section of their Covid-19 Vaccine Policy that exemption applicants must upload their

Religious Exemption Request Form, along with a certification form from their religious leader or

other person who can attest the individual’s religious beliefs are sincerely held, by August 15,

2021. SOF ¶ 21. And Plaintiff Conway complied with the provisions of Mercy’s policy. SOF ¶

22. Moreover, Mercy made a number of explicit and discretionary decisions about which

religious beliefs were sufficient to warrant an exemption from the vaccine. SOF ¶ 23. The

Missouri Division of Unemployment Commission found that Mercy did not adhere to the

standards they had established for the vaccine mandate. SOF ¶ 25.

       Mercy’s affirmative conduct in continuing to contract to receive Medicare reimbursement

and complying with the vaccine mandate rule requiring employers to provide religious

exemptions from the mandate, demonstrates an intentional relinquishment of their right to claim

an exemption as a religious corporation. As a factual matter, the absence of testimony from

Mercy about their exact thought process and organizational goals in promoting a religious

exemption policy when they did not believe it applied to them must be developed. Because such

testimony is lacking, the motion for summary judgment should be denied.




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   C. Mercy’s failure to raise their claimed exemption from complying with the vaccine

       mandate’s requirement that employees be allowed to claim a religious exemption

       should caused them to estopped them from asserting the affirmative defense.

       The principle of [equitable] estoppel declares that a party who makes a representation

that misleads another person, who then reasonably relies on that representation to his detriment,

may not deny the representation." Farley v. Benefit Trust Life Ins. Co.,979 F.2d 653, 659 (8th

Cir. 1992); see also Heckler v. Cmty. Health Servs. of Crawford County, Inc., 467 U.S. 51, 59

(1984) (referring to the Restatement (Second) of Torts to define equitable estoppel as warranted

in situations where one person has misrepresented facts and another person reasonably relies on

the misrepresentation to his or her detriment).

       The doctrine of equitable estoppel has previously been applied to estop employers from

asserting an affirmative defense contesting an employee's entitlement to FMLA leave. See Duty

v. Norton-Alcoa Proppants, 293 F.3d 481, 493-94 (8th Cir. 2002) (citing Kosakow v. New

Rochelle Radiology Assocs., 274 F.3d 706, 724-25 (2d Cir. 2001) (affirming the district court's

decision to estop an employer from asserting an affirmative defense challenging an employee's

FMLA eligibility when the employer's unintentional misleading behavior caused the employee to

justifiably and detrimentally rely on the FMLA leave)); Woodford v. Cmty. Action of Greene

County, Inc., 268 F.3d 51, 57 (2d Cir. 2001) (authorizing equitable estoppel where an employer

initially provided notice of eligibility for leave and later seeks to challenge it); Dormeyer v.

Comerica Bank-Illinois, 223 F.3d 579, 582 (7th Cir. 2000) (recognizing a district court's ability

to equitably estop employers from asserting an affirmative defense contesting an employee's

entitlement to FMLA leave in situations where the employer's words or conduct have misled the




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employee into relying on the leave)) Podkovich v. Glazer's Distributors of Iowa, Inc., No. C04-

4104-MWB, at *26-27 (N.D. Iowa Aug. 11, 2006).

       In Duty v. Norton-Alcoa, the Eighth Circuit Court of Appeals approved a finding by the

district court that the employer could not rely upon the statutory language of the FMLA as an

affirmative defense where the employer explicitly guaranteed longer leave. Id. at 494. In that

case, the employee was fired for taking longer than 12 weeks of leave. Id. The Eighth Circuit

found the district court’s reliance upon evidence that the employee relied upon a letter from the

employer guaranteeing longer than 12 weeks of leave was reasonable. Id.

       Here, the Mercy policy for vaccinations required that employees be vaccinated by a

certain date. SOF ¶ 21. The policy provided that religious exemptions would be granted provided

a request was timely submitted. Id. Plaintiff did in fact submit her request and complied in all

ways with the Mercy policy. SOF ¶ 23. As a result, she did not get the vaccine in time and was

terminated. Id. At the unemployment hearing, the Mercy representative made no effort to claim

any religious exemption from the vaccine policy mandate – suggesting that, in conformance with

Plaintiff’s claim, no one within Mercy had any knowledge that claims of religious exemption

would not be honored. SOF ¶ 22.

       On these facts, it is clear that there exists at minimum a material fact dispute about

whether or not Plaintiff Conway detrimentally relied upon the Mercy vaccine policy’s review of

religious exemptions. Plaintiff relied on Mercy’s explicit statements that it would review her

claim of exemption appropriately and was terminated as a result.




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   III.      EVEN IF THE CMS MANDATE IS NOT HELD TO BE THE
             PREDOMINANT FACTOR, DEFENDANT’S MOTION FOR SUMMARY
             JUDGMENT SHOULD BE DENIED, BECAUSE THE STANDARD FOR
             DETERMINING WHAT CONSTITUTES A RELIGIOUS CORPORATION IS
             BOTH OVERBROAD AND UNCONVINCING.

          Title VII does not define what constitutes "a religious corporation, association,

educational institution, or society." LeBoon v. Lancaster Jewish Community Center Ass’n, 503

F.3d 217, 235-36 (3d Cir. 2007); EEOC v. Townley Eng'g Mfg. Co., 859 F.2d 610, 618 (9th Cir.

1988). Defendant urges the adoption of the third circuit’s religious corporation test. That test is

deeply flawed. The EEOC has recently taken the position that a different test from the Ninth

Circuit is more appropriate. Under either test, Mercy is not a religious corporation.

   A. The LeBoon Test Raised by Defendant Mercy Hospital Is Not the Governing

          Standard Under the Eastern District of Missouri.

          Defendant Mercy Hospital relies heavily upon the criteria in LeBoon to establish itself as

a “religious corporation” under Title VII:

                         (1) whether the entity operators for a profit; (2)
                         whether it produces a secular product; (3) whether
                         the entities articles of incorporation or other
                         pertinent documents state a religious purpose, (4)
                         whether it is owned, affiliated with or financially
                         supported by a formally religious entity such as a
                         church or synagogue, (5) whether a formally
                         religious entity participates in the management, for
                         instance by having representatives on the board of
                         trustees, (6) whether the entity holds itself out to the
                         public as secular or sectarian, (7) whether the entity
                         regularly includes prayer or other forms of worship
                         in its activities, (8) whether it includes religious
                         instruction in its curriculum, to the extent it is an
                         educational institution, and (9) whether its
                         membership is made up by coreligionists.

See LeBoon, 503 F.3d at 226 (3d Cir. 2007);




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        The Eastern District of Missouri has no stance on whether Mercy Hospital, or others like

it, are immune from Title VII religious discrimination. In Young v. St. John’s Mercy Health Sys.,

No. 4:10CV824 TIA, 2011 WL 9155, at *4 (E.D. Mo. Jan. 3, 2011), the only mandatory

authority cited in opposing counsel’s memorandum, the Plaintiff asserted an age discrimination

claim under the ADEA and racial discrimination claims under both Title VII and Section 1981.

Id. at *4-5. The Court in that case granted summary judgment on her Missouri Human Rights Act

claim, not her Title VII claims. Id. Notably, the issue of Mercy’s claimed exemption from Title

VII claims of religious discrimination was not even considered by the court. Id.

    B. Defendant Mercy is not a Religious Corporation under the LeBoon test.

        But Defendant Mercy Hospital intentionally leaves out the ninth factor as inapplicable. See

Memo in Support at *6, n.4. Mercy Hospital employs many individuals on a wide variety of

religious denominations. In fact, Defendant Mercy Hospital states on the Careers page of their

website:

                        We're proud to create a culture that cherishes every
                        person in the image of God. We believe the diversity
                        of race, gender, sexual orientation, religion,
                        ethnicity, nationality, status as a protected veteran
                        and any other unique characteristics that make us
                        who we are should have nothing to do with our
                        hiring practices. Join us on our journey to continue
                        fostering an environment where inclusion is valued
                        and leveraged. SOF ¶ 24.

        This is problematic, because Defendant Mercy Hospital attempts to use the first seven

factors as a dispositive means of persuading the court to consider them as a religious corporation.

In light of this observation, the LeBoon test appears overbroad in scope in that it allows

Defendant Mercy Hospital to avail itself under § 702(a) as a “religious corporation” and still

"engage in secular activities," fail to conform to "the strictest tenets" of its faith, declare its



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intention not to discriminate even while doing just that, and, finally, hire persons who subscribe

to other faiths while reserving the right to fire those same employees, solely on the basis of their

religion, should it choose to do so at some point in the future. LeBoon, 503 F.3d at 238.

       In this case, Mercy fails to be a religious corporation even under the LeBoon test. Mercy

does not regularly conduct worship activities for the vast majority of its employees. SOF ¶ 28.

Mercy made nearly $10,000,000.00 in profit not related to their non-profit status during the time

that Plaintiff Conway worked there. Id. at ¶ 18. Mercy does not train nor educate its workers in

the Catholic faith. Id. at ¶ 16. Mercy does not hold regular worship services. Id. at ¶ 16. The

majority of workers at Mercy are not Catholic. Id. at ¶ 15. At no time prior to the vaccine

mandate did Mercy discuss religion with its workers in any way. Id. at ¶ 18.

       On the basis of the flawed Leboon test, there is clearly a material dispute as to whether

Mercy is indeed a religious corporation. Indeed, factors 1, 2, 7, 8 and 9 all favor a conclusion

that Mercy is not a religious corporation for the purposes of Title VII.

   C. Leboon is overbroad.

       In Spencer v. World Vision, Inc., 633 F.3d 723 (9th Cir. 2010), the court finds troubling

overbreadth with the LeBoon test. See id. at 730-32. Additionally, the court highlights the issue

of non-profit institutions with church affiliations using their affiliations as a cover for religious

discrimination in secular employment. Id. at 745. In fact, Judge Kleinfeld’s concurrence in

Spencer raises a chilling hypothetical that is identical to the current matter against Mercy

Hospital:

                       [P]hysicians may organize a hospital as a nonprofit
                       affiliated with a church, stating a religious purpose
                       of healing the sick in its articles and bylaws. The
                       hospital may then charge full market prices to
                       patients and their insurers, and pay the physicians
                       who organized it and their employees around

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                       $50,000 a year for residents, $200,000 a year for
                       employed physicians working a week on, week off,
                       and $400,000 a year for radiologists. It can defend
                       its stated religious purpose with the true argument
                       that whatever church it affiliates with promotes
                       healing the sick as a religious duty. Yet the non-
                       profit hospital differs from a for profit hospital only
                       in that the board does not have to concern itself with
                       pesky stockholders and does not have to pay income
                       taxes on the excess of revenues over expenses and
                       depreciation. The free exercise concern protected by
                       the exemption does not suggest that the hospital
                       should be allowed to discriminate by religion in
                       hiring, since physicians, nurses, and other
                       employees can perform their tasks equally well
                       regardless of their religious beliefs. See id. at 746.
                       (Emphasis supplied).

       Thus, both Spencer and Judge Rendell’s dissent in LeBoon raise the insufficiency of this

majority test in analyzing the closeness of a corporation’s formal relationship with a particular

religious group that go beyond structure and religious symbolism. This open question of law

supplements Plaintiff’s clear demonstration of a material fact dispute, and shows that Defendant

Mercy Hospital’s cannot establish a right to summary judgement at this stage. Compare id. at

730-32, 734, 746-48 with LeBoon, 503 F.3d at 238.

   D. The Spencer Test is the Preferred Standard

       On December 9, 2020, OFCCP published its Final Rule in the Federal Register, updating

OFCCP’s Rules re religious discrimination. 85 Fed. Reg. at 79324. The Final Rule adds definitions

for the terms “Particular religion,” “Religion,” “Religious corporation, association, educational

institution, or society,” and “Sincere.” Id. at 79330. Most importantly, OFCCP’s definition of

“Religious corporation, association, educational institution, or society” adopts a modified view of

the Ninth Circuit Court of Appeals’ test used in Spencer to determine the conditions a federal

Contractor must satisfy to be eligible for the religious exemption. Id. at 79331-33.



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       Under Spencer, an entity is a "religious corporation, association, or society," determine

when it is: (1) organized for a religious purpose, (2) is engaged primarily in carrying out that

religious purpose, (3) holds itself out to the public as an entity for carrying out that religious

purpose, and (4) does not engage primarily or substantially in the exchange of goods or services

for money beyond nominal amounts. See Spencer, 633 F.3d at 748. How an institution charges

offers an objective test for sorting out which institutions are designed to exchange goods or

services for money, from those designed to give them away except perhaps for nominal charges

in order to serve a religious objective. Id. at 747. This objective measure relates closely to the

purpose of the exemption. Id. A religious purpose may be a motive, or money may be a motive,

for work that serves others. Id. If money is not available as an incentive, that is strong evidence,

in the purportedly religious institution, that exercise of religion is the objective. Id. On the other

hand, if satisfaction of a religious purpose is insufficient to motivate the performance, then the

performance may be consistent with religion but not motivated by it. Id.

       Here, Defendant Mercy Hospital would not qualify as a religious organization under this

test. Mercy received at minimum $3,207,180 in taxable income during the years 2017-2019. SOF

¶ 21. Mercy had an equity interest in at least 28 for profit sub entities during 2019. SOF ¶ 22.

The majority of workers at Mercy are not Catholic. SOF ¶ 4. Plaintiff herself regularly worked

with and was employed by Mercy for-profit entities. SOF ¶ 3. Plaintiff was never instructed on

Catholic doctrine nor asked in any way about her religion while she worked at Mercy. SOF ¶ 5.

       The only time Mercy interacted with their employees in any religious way was when they

were ordered to by the CMS Mandate. SOF ¶ 5. Even then, the majority of their workers had no

religious interaction with Mercy at all. In fact, during the administrative appeal of Plaintiff’s




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claim for unemployment benefits, the worker representing Mercy made no reference at all to the

hospitals religious organization status. SOF ¶ 34.

                                         CONCLUSION

       For the forgoing reasons, Plaintiff asserts that Defendant’s argument for summary

judgment on the basis of being exempt as a religious corporation from Title VII religious

discrimination must fail.



                                                     Respectfully submitted,

                                                     OTT LAW FIRM



                                                     _______________________
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                                    CERTIFICATE OF SERVICE

        COMES NOW Plaintiff Conway by and through undersigned attorney, and hereby certifies

that the forgoing was served via the courts e-filing system and email on this 6th Day of April 2023 to:



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